                                                                                       08/22/2024




      IN THE SUPREME COURT FOR THE STATE OF MONTANA                                Case Number: DA 23-0137




                                   No. DA 23-0137
STATE OF MONTANA,

         Plaintiff and Appellee,
v.
GRANT WEST,
      Defendant and Appellant.

                                     ORDER

      Upon consideration of Defendant and Appellant’s Motion For Extension Of

Time, and with good cause shown, Defendant and Appellant Grant West is hereby

granted an extension of time until October 4, 2024 in which to prepare, file and

serve Defendant and Appellant’s opening brief.




                                                                        Electronically signed by:
                                                                              Mike McGrath
                                                                 Chief Justice, Montana Supreme Court
                                                                             August 22 2024
